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                          UNITED STATES DISTRICT CO URT
                          SOUTHERN DISTRICT OF FLO RIDA
                           Case No.18-21365-CIV-W ILLIAM S

  ST.LO UIS CO NDOM INIUM ASSOCIATIO N,INC.,

        Plaintiff,

  VS.

  RO CKHILL INSURANCE CO M PANY,

        Defendant.
                                          /

                                         O RDER
        THIS MATTER is before the Coud on Plaintiffst Louis Condom inium Association,

  Inc.'smotionforto alteroramendfinaljudgment,(DE 272).DefendantRockhillInsurance
  Company filed a response (DE 274)and Plainti# filed a reply (DE 275).ln its motion,
  Plaintiffrequests thatthe Courtalter oramend the finaljudgmentto 1) award pre-
  judgment interest, 2) reserve jurisdiction to award attorney's fees, 3) exclude the
  deductiblefrom the verdict,and4)strikethejury'sdeterm inationofpre-existingdamages.
  Forthe reasons setfodh below , Plainti
                                       ff's m otion is G RA N TED IN PA R T A N D D EN IED

  IN PA RT.

        The Coud reserves jurisdiction to determ ine attorney's fees upon the filing of
  separate motions.Plaintiff'sremainingargumentsweresetfodh in itsmotionforjudgment
  as a m atteroflaw .Accordingly,Plaintiff's m otions forthe Coud to am end oralterfinal

  judgmentto award pre-judgmentinterest,exclude the deductible,and strike the jury's
  determ ination ofpre-existing dam ages are DENIED AS M O OT in lightofthe Coud'sorder

  on Plaintiff's motion forjudgmentas a matterofIaw (DE 270).The Coud willenteran
  amended finaljudgmentin accordance with itsorderon Plaintiff's motion(DE 270).
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          DO NE AND O RDERED in cham bers in M iam i,Florida,thi       day ofAugust,

  2019.


                                              KATHLEE M .W ILLIAM S
                                              UNITED ATES DISTRICT JUDG E
